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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 MELVIN ROBERTSON,
                                                     Civil No. 1:23-cv-00891-PAG
                Plaintiff,
                                                     Honorable Patricia A. Gaughan
        v.

 OFFICER ROBERT TAYLOR, CITY OF
 CLEVELAND, GIANT EAGLE, INC., and                   STIPULATION AND PROPOSED
 SECURITY HUT, INC.,                                 ORDER OF DISMISSAL WITH
                                                     PREJUDICE
                Defendants.


 GIANT EAGLE, INC.,

                Third-Party Plaintiff,

        v.

 SECURITY HUT, INC.,

                Third-Party Defendant.


               Counsel for all the respective parties in this action jointly stipulate that Plaintiff’s

claims in the above-captioned matter have been settled and stipulate to the voluntary dismissal of

Plaintiff’s claims with prejudice with each party bearing their own costs. The parties move that the

Court enter an order dismissing the case and retaining jurisdiction for the purpose of enforcing the

settlement agreement.


                                                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on December 11, 2024, I filed a copy of the foregoing joint filing using the

Court’s CM/ECF system and all parties will receive notice and service, through counsel of record,

via that system.



                                                    /s/ Elizabeth Bonham
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